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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   DOUGLAS J. BEEVERS, U.S.V.I. #766
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   DANIEL NEBEL
 7
 8                         IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )        No. CR-S-08-0212 LKK
                                     )
12                  Plaintiff,       )        STIPULATION AND ORDER TO ALLOW
                                     )        DEFENSE COUNSEL ACCESS TO PRESENTENCE
13        v.                         )        INVESTIGATION REPORT
                                     )
14   DANIEL NEBEL,                   )        Judge:    Hon. Lawrence K. Karlton
                                     )
15                  Defendant.       )
                                     )
16   _______________________________ )
17
18         IT IS HEREBY STIPULATED between the parties, MARY GRAD, Assistant
19   United States Attorney, and DOUGLAS BEEVERS, Assistant Federal Defender,
20   attorney for defendant DANIEL NEBEL, that the Presentence Investigation
21   Report be released to defense counsel. Defense counsel was appointed by
22   this Court to answer the questions defendant has regarding sentencing and
23   jail credits. The report is needed for review by defense counsel to
24   address the questions and concerns of the defendant.
25   ///
26
27
28
          Case 2:08-cr-00212-TLN-EFB Document 448 Filed 10/18/10 Page 2 of 2


 1   Dated:   October 13, 2010               Respectfully submitted,
 2                                           DANIEL J. BRODERICK
                                             Federal Defender
 3
                                             /s/ DOUGLAS BEEVERS
 4                                           DOUGLAS BEEVERS
                                             Assistant Federal Defender
 5                                           Attorney for Defendant
                                             DANIEL NEBEL
 6
 7                                           BENJAMIN B. WAGNER
                                             United States Attorney
 8
 9                                           /s/ Mary Grad
                                             MARY GRAD
10                                           Assistant United States Attorney
11
                                           ORDER
12
           Based upon the stipulation of counsel set forth above, the Court
13
     adopts the stipulation.
14
           IT IS SO ORDERED.
15
16   Dated: October 18, 2010
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18
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     Stip/Order: Release PSR                -2-
